Case 1:10-cv-00990-ER-SRF Document 821 Filed 05/25/18 Page 1 of 3 PageID #: 33611



                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF DELAWARE

                                                 Master File No. 10-cv-00990-ER
 IN RE WILMINGTON TRUST
 SECURITIES LITIGATION
                                                 (Securities Class Action)
 ______________________________________
                                                 Hon. Eduardo Robreno
  This document relates to: ALL ACTIONS
                                                 ELECTRONICALLY FILED



     LEAD PLAINTIFFS’ UNOPPOSED MOTION FOR (I) PRELIMINARY APPROVAL OF
           SETTLEMENTS AND (II) APPROVAL OF NOTICE TO THE CLASS

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  Vera G. Belger (Bar No. 5676)                Katherine M. Sinderson
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  Dated May 25, 2018
Case 1:10-cv-00990-ER-SRF Document 821 Filed 05/25/18 Page 2 of 3 PageID #: 33612



         Lead Plaintiffs and Class Representatives, the Merced County Employees’ Retirement

  Association, the Coral Springs Police Pension Fund, the St. Petersburg Firefighters’ Retirement

  System, the Pompano Beach General Employees Retirement System, and the Automotive

  Industries Pension Trust Fund (collectively, “Lead Plaintiffs”), hereby move this Court, pursuant

  to Federal Rule of Civil Procedure 23, for entry of an order: (i) preliminarily approving the

  proposed settlements resolving all claims asserted in this action (the “Settlements”); (ii)

  approving the form, content, and manner of giving notice of the proposed Settlements to Class

  Members; and (iii) scheduling a hearing to consider final approval of the Settlements, approval

  of the Plan of Allocation, and the motion by Lead Counsel for an award of attorneys’ fees and

  reimbursement of Litigation Expenses.

         This Motion is based upon the Stipulation and Agreement of Settlement with Wilmington

  Trust Defendants and Underwriter Defendants dated May 15, 2018, attached hereto as Exhibit 1;

  the Stipulation and Agreement of Settlement with KPMG dated May 25, 2018, attached hereto as

  Exhibit 2; the accompanying Brief; and all other papers and proceedings herein. The parties’

  agreed-upon form of proposed Preliminary Approval Order, with exhibits thereto, is attached as

  Exhibit 3 to this Motion. Pursuant to the terms of the Stipulations, this Motion is unopposed by

  Defendants.

  Dated: May 25, 2018                                 Respectfully submitted,

                                                      CHIMICLES & TIKELLIS LLP

                                                      /s/ Robert J. Kriner, Jr.
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                                                 2
Case 1:10-cv-00990-ER-SRF Document 821 Filed 05/25/18 Page 3 of 3 PageID #: 33613



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